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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                          Case No.:    3:00cr48/LAC
                                                          3:05cv204/LAC/MD
PHILLIP NESMITH
_____________________________________________________________________
                                      ORDER
       Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on January 29, 2008, pursuant to 28 U.S.C. § 636(b)(1)(B), the
Recommendation is adopted as the opinion of the Court.
       Accordingly, it is ORDERED:
       1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
       2.    The defendant’s motion to vacate (doc. 1301) is denied and dismissed
without prejudice for his failure to comply with an order of the court and failure to
prosecute this action.
       DONE AND ORDERED this 28th day of February, 2008.




                                       s /L.A. Collier
                                       LACEY A. COLLIER
                                       SENIOR UNITED STATES DISTRICT JUDGE
